Case 4:22-cv-00561-RCC Document 30-6 Filed 03/23/23 Page 1 of 6




                    EXHIBIT 5
    Case 4:22-cv-00561-RCC Document 30-6 Filed 03/23/23 Page 2 of 6




                  DECLARATION OF SUNEEL CHAKRAVORTY

1. Since early 2020, I have been collaborating with Mr. Raniere to uncover potential
   evidence that bad actors in the FBI and DOJ committed malfeasance to secure his
   conviction.
2. One of the most egregious issues we suspected is the manipulation and falsification of
   evidence to convict him of the racketeering predicate acts of child pornography and
   sexual exploitation of a minor.
3. After two years of effort, on April 28, 2022, Mr. Raniere submitted to the appellate court
   three affidavits from leading forensic experts, including Dr. James Richard Kiper, Ph.D.,
   a former Special Agent and forensic examiner who had worked for the FBI for twenty
   years until 2019.
4. These affidavits contained the experts' findings of manipulation of child pornography
   evidence, some of which was shown to have occurred while in the custody of the FBI. US
   v. Raniere, Eastern District of New York, 18-cr-204, Doc. 1169-1.
5. On that same day, AUSA Kevin Trowel, of the Eastern District of New York, called this
   evidence of government malfeasance “frivolous.” US v. Raniere, United States Court of
   Appeals for the Second Circuit, 20-3520, Doc. 205.
6. On April 30, 2022, Mr. Raniere called me, and in conversation he used the word “war.”
7. In their filings in Raniere v. Garland, 22-cv-561, the BOP seems to have misconstrued or
   possibly conflated Mr. Raniere’s use of the word “war” as if it were used in a manner
   other than as part of the “attack” on his conviction or a “fight” for justice.
8. In their response to Mr. Raniere’s motion for preliminary injunction, Doc. 14, the BOP
   wrote:
            In early May 2022, the SIS Department at USP Tucson was monitoring telephone
            calls between Plaintiff and Mr. Chakravorty. (Ex. F, p. 4.) They spoke to each
            other about being “at war” with the federal government that would be “no holds
            barred.” (Id.)... The CTU recommended that the USP Tucson SIS Department
            remove all of Plaintiff’s current contacts and review all future contact requests.
            (Doc. 14 at 6:7-14.)

9. They cited the affidavit of SIS Lieutenant Anthony Gallion, dated, May 31, 2022, in
   Exhibit F. In his affidavit, Lt. Gallion wrote:




                                                                                             1
    Case 4:22-cv-00561-RCC Document 30-6 Filed 03/23/23 Page 3 of 6




           In early May 2022, my staff in the SIS Department were monitoring telephone
           calls between Raniere and Suneel Chakravorty. They spoke to each other about
           being “at war” with the federal government that would be “no holds barred.” Even
           more concerning than this language or “war” is the fact that Raniere asked about
           the quality of the recordings and stated that he has many recordings. As indicated
           above, Suneel Chakravorty has previously recorded telephone conversations with
           Raniere. The CTU recommended that Raniere’s current contacts be removed and
           that all future contact requests go through the SIS Department for approval so as
           to determine whether any individuals have affiliation with NXIVM, as prohibited
           by special conditions of supervised release in the Judgment and Commitment
           Order. See Att. 6, Judgment and Commitment Order at 9 (special condition
           number eleven). Doc. 14-2 at 279 ¶14.

10. It is true that I recorded my phone calls with Mr. Raniere, as Lt. Gallion states. Mr.
   Raniere was aware that I was recording the conversation just as he was aware the BOP
   was recording the conversation. To my knowledge there is no prohibition against
   recording conversations with a federal prisoner.
11. My calls with Mr. Raniere centered around uncovering evidence that bad actors within
   the Federal Bureau of Investigation and potentially the US Attorney's Office for the
   Eastern District of New York had violated Mr. Raniere’s rights and, in doing so,
   committed criminal acts, potentially requiring an independent investigation separate and
   apart from Mr. Raniere’s efforts to attack his conviction.
12. Lt. Gallion’s affidavit, in which Mr. Raniere was quoted, stated Mr. Raniere was “at war”
   and as such it was a “no holds barred” engagement.
13. On April 30, 2022, Mr. Raniere used the word “war” not once but three times in calls to
   me. The BOP has the recordings. I offer relevant excerpts, transcribed by the service
   Rev.com.
14. The excerpt of the first instance is below (emphasis added):
           Mr. Raniere: We're in a war here, and we're fighting for justice….

15. The excerpt of the second instance is below (emphasis added):
           Let's not be light-languaged or anything like that…. It's interesting at the end of
           JFK, the movie, where he looks up and says, in effect, give us get our
           government back. It's up to you…

           But really we want our government back and this is the war.




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    Case 4:22-cv-00561-RCC Document 30-6 Filed 03/23/23 Page 4 of 6




16. The third instance is centered around Mr. Raniere discomfiture over a response from an
   individual who represents the Department of Justice that did not address the numerous
   findings of alterations and manipulation of evidence in FBI custody, made under oath by
   three qualified forensic experts in his appellate submission but rather was dismissed with
   a single word: “frivolous.” Mr. Raniere believed this was at least disingenuous if not a
   wholesale abrogation of the right to another word, the very centerpiece of the name of
   their institution: “Justice.”
17. Credible evidence of potential violations of law and due process by government actors, to
   Mr. Raniere’s mind, and to my mind also, and perhaps to most Americans’ minds, would
   inspire a prosecutor to urgent action, not dismissive rhetoric. Mr. Raniere believed that
   such a response from Mr. Trowel was not in keeping with a prosecutor's role, which Mr.
   Raniere believes is not to win convictions but to ensure justice. As such, in his view, this
   kind of dismissive conduct should result in dismissal or censure.
18. The excerpt containing the third instance is below (emphasis added):
           Mr. Raniere: It's not frivolous. And to think this is frivolous is a horrible sin, is a
           horrible evil. Has to be taken out of the gov. They have to resign.

           Mr. Chakravorty: Yes.

           Mr. Raniere: Does that make sense?

           Mr. Chakravorty: Yes, it does.

           Mr. Raniere: And we need to ask for it publicly. So I'll speak to you, I'll try not to
           have too much more. Okay?

           Mr. Chakravorty: Thank you. Okay.

           Mr. Raniere: Yeah. We have 10 seconds last five seconds, so, all right, send my
           best to everyone and I'm so sorry, but we're in the war now.

           Mr. Chakravorty: Yes we are.

           Mr. Raniere: No holds barred.

19. In those conversations, I understood Mr. Raniere and myself to be talking about a fight
   for justice and for truth, not only to attack Mr. Raniere’s conviction but to weed out




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    Case 4:22-cv-00561-RCC Document 30-6 Filed 03/23/23 Page 5 of 6




   corruption if we find it, even inside our most powerful, or venerable or vaunted
   institutions.
20. The use of the word “war” had nothing to do with taking up arms against the government
   or anyone, or anything else other than to fight for the goals of our government as
   expressed in the Constitution, using the legal system and the public forum to expose
   violations committed under the color of law by bad actors in sheep’s clothing.
21. To ring an alarm bell over the use of a word “war” without providing the context is not
   entirely dissimilar to the use of the word “frivolous” by another government
   representative, for both are misleading. Under other circumstances, it might be a
   humorous way to win by misdirection, but in the case of a prisoner of the USA who has
   raised the most serious allegations that every American should have cause to be
   concerned about, it is not comical. People often use the language of war without the
   slightest possibility that they are speaking literally:
       ● Being “in the trenches” does not mean one is in trench warfare, but means being
           deeply involved in a hands-on, ground-level work on a project.
       ● Going “nuclear” does not mean detonating an atomic bomb but rather that a
           person is acting in a volatile manner or on a full-scale attack but necessarily
           violent and not with thermal heat.
       ● “Pulling the trigger” does not literally mean shooting an actual gun but rather
           making a decision.
       ● Being in a battle or a fight or a war does not mean a literal combat with lives at
           stake, but rather a quest for victory against an adversary.
22. On May 3, 2022, Mr. Raniere filed the Rule 33. US v. Raniere, 18-cr-204, Doc. 1169.


23. On May 5, 2022, in part because of the ‘language of war’ from the calls on April 30,
   2022, which Lt. Gallion inferred to have an alarming meaning, I was scrubbed from Mr.
   Raniere’s list. Mr. Raniere has not been able to call me since that time.
24. One and half months later, on June 17, 2022, USP Tucson recognized me as a paralegal
   for Mr. Joseph Tully Esq. and the Warden permitted me two legal calls with Mr. Raniere.
   One was on June 19, 2022, and the other was on June 20, 2022, just one day before Mr.
   Raniere’s Rule 33 final submission deadline of June 21, 2022.



                                                                                              4
    Case 4:22-cv-00561-RCC Document 30-6 Filed 03/23/23 Page 6 of 6




25. Mr. Raniere, with my help, filed an additional Rule 33 motion, by the deadline, on June
   21, 2022. US v. Raniere, 18-cr-204, Doc. 1178.
26. Since then, the Warden has not approved any further requests for legal calls between Mr.
   Raniere and me.
27. I declare under penalty of perjury of the laws of the United States of America that the
   foregoing is true and correct to the best of my knowledge.




Executed on February 24, 2023




__________________________
Suneel Chakravorty




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